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1                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEVADA
2
       UNITED STATES OF AMERICA,   )         Case No. 2:13-cr-185-MMD-VCF
3                Plaintiff,        )
                                   )         ORDER TEMPORARILY UNSEALING
4         vs.                      )         TRANSCRIPT
       ROBERT C. BARROW,           )
5                Defendant.        )
       ____________________________)
6

7           On August 19, 2014, Katherine Eismann, Official Court

8      Reporter, received a Transcript Order from Paul D. Riddle,

9      counsel for defendant, requesting a transcript of the sealed

10     hearing December 10, 2013, in the above-entitled matter.

11          IT IS THE ORDER OF THE COURT that the sealed hearing shall

12     be unsealed for the limited purpose of providing a copy of the

13     transcript as requested by Paul D. Riddle.

14          IT IS FURTHER ORDERED that the sealed hearing shall

15     thereafter be resealed and a certified copy of the transcript

16     be delivered to the Clerk pursuant to 28, U.S.C., Section 73(b)

17     and remain sealed until further order of the Court.

18          IT IS FURTHER ORDERED that the receiving party shall not

19     disclose the sealed contents of the transcript to anyone other

20     than the representatives of the parties directly concerned with

21     this case.

22          DATED this 20th day of August 2014.
23
                                         __________________________
24                                       MIRANDA M. DU
                                         UNITED STATES DISTRICT JUDGE
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